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                             United States Bankruptcy Court
                                   Southern District of Texas

In re: CLINT ARLIN CHURCH                                  Case No.       22-30914-H4-13

                  Debtor                                           Chapter:       13

        DEBTOR'S RESPONSE TO MOTION FOR RELIEF FROM THE STAY
                  FILED BY FREEDOMROAD FINANCIAL


       COMES NOW, Clint Arlin Church, and files this, his Response to Motion for Relief

from the Stay filed by FreedomRoad Financial ("Motion for Relief"), and respectfully shows the

Court the following:

1.     Debtor admits the allegations contained in paragraph 1 of the Motion for Relief.

2.     Debtor admits the allegations contained in paragraph 2 of the Motion for Relief.

3.     Debtor admits the allegations contained in paragraph 3 of the Motion for Relief.

4.     Debtor cannot admit or deny the allegations contained in paragraph 4 of the Motion for

       Relief.

5.     Debtor admits the allegations contained in paragraph 5 of the Motion for Relief.

6.     Debtor admits the allegations contained in paragraph 6 of the Motion for Relief.

7.     Debtor admits the allegations contained in paragraph 7 of the Motion for Relief.

8.     Debtor cannot admit or deny the allegations contained in paragraph 8 of the Motion for

       Relief..

9.     Debtor cannot admit or deny the allegations contained in paragraph 9 of the Motion for

       Relief since it is regarding an estimate.

10.    Debtor cannot admit or deny the allegations contained in paragraph 10 of the Motion for

       Relief.

11.    Debtor cannot admit or deny the allegations contained in paragraph 11 of the Motion for

       Relief.
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12.    Debtor cannot admit or deny the allegations contained in paragraph 12 of the Motion for

       Relief because that paragraph is inapplicable.

13.    Debtor cannot admit or deny the allegations contained in paragraph 13 of the Motion for

       Relief because that paragraph is inapplicable.

14.    Debtor admits the allegations contained in paragraph 14 of the Motion for Relief.

15.    Debtor cannot admit or deny the allegations contained in paragraph 15 of the Motion for

       Relief because that paragraph is inapplicable.

16.    Debtor cannot admit or deny the allegations contained in paragraph 16 of the Motion for

       Relief because that paragraph is inapplicable.

17.    Debtor denies the allegations contained in paragraph 17 of the Motion for Relief.

18.    Debtor admits the allegations contained in paragraph 18 of the Motion for Relief.

       WHEREFORE, PREMISES CONSIDERED, Clint Arlin Church prays that this Court

will deny the Motion for Relief From the Stay filed by FreedomRoad Financial and grant

Debtors all relief he is entitled to under the Code, including attorneys' fees, if applicable.
                                                               Respectfully Submitted,

                                                                /s/ Rick J Deal
                                                               RICK J. DEAL
                                                               ATTORNEY FOR DEBTOR
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                                 CERTIFICATE OF SERVICE
        I certify that the Debtor's Response to FreedomRoad Financial's Motion to Lift Stay in
the above-referenced case was served, either by electronic means or by first class mail, on the
parties listed below on September 27, 2022.

                                                        /s/ Rick J Deal
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